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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                       www.flsb.uscourts.gov

 In re:    Frank Alberto Beades Morales                  Case No.: 23-12115-LMI

                                                         Chapter 13

                        Debtor(s)                 /

                        OBJECTION TO CLAIM ON SHORTENED NOTICE

              IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
                                TO YOUR CLAIM

        This objection seeks either to disallow or reduce the amount or change the priority status
of the claim filed by you or on your behalf. Please read this objection carefully to identify which
claim is objected to and what disposition of your claim is recommended. Upon the filing of this
objection an expedited hearing on this objection will be scheduled on the date already scheduled
for the confirmation hearing in accordance with Local Rule 3007-1(B)(2).

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the [trustee][debtor]
objects to the following claim filed in this case:

Claim                                         Amount of
No.              Name of Claimant             Claim

1                      LVNV Funding, LLC /             $980.52
                 Resurgent Capital Services

Basis for Objection and Recommended Disposition

On or about March 25, 2023, Creditor filed a secured proof of claim in the amount of $980.52 for
an alleged retail credit card with an account ending in 7158. This claim is barred by the statute of
limitations as the date of last activity was on or about May 8, 2000. Debtor requests this claim be
stricken and disallowed.


Claim                                         Amount of
No.              Name of Claimant             Claim

5                      LVNV Funding, LLC /             $3,508.21
                 Resurgent Capital Services

Basis for Objection and Recommended Disposition

On or about May 25, 2023, Creditor filed a secured proof of claim in the amount of $3,508.21 for
an alleged retail credit card with an account ending in 5269. This claim is barred by the statute of
limitations as the date of last activity was on or about October 8, 2000. Debtor requests this claim
be stricken and disallowed.




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The undersigned acknowledges that this objection and the notice of hearing for this objection will
be served on the claimant and the debtor at least 14 days prior to the confirmation hearing date and
that a certificate of service conforming to Local Rule 2002-1(F) must be filed with the court when
the objection and notice of hearing are served.

DATED: August 4, 2023

                                      Respectfully Submitted:
                                      JOSE A. BLANCO,
                                      P.A.
                                      By: /s/ Jose A. Blanco |    FBN: 062449
                                      Attorney for Debtor(s)
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